      Case 3:15-cr-00163-KIN THE
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                                        STATES    08/10/17COUPage 1Nof 1U.S. DISTRICT
                                                DISTRICT                     PageID COURT
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                                FOR THE NORTHERN DISTRICT OF TE                            ORTHER.N DISTRICT OF TEXAS
                                          DALLAS DIVISION                                           FILED
UNITED STATES OF AMERICA                                  §
                                                          §                                      AUG I 0 2017
vs.                                                       §                         ASE N        3:15-CR-163-K ( 3)

LIDIA ANTONIO
                                                          §
                                                          §
                                                                                        ~ERK, U.>fl~CT COURT
                                                                        Deputy
                                     REPORT AND RECOMMENDATION ------..::.::z~----_1
                                      CONCERNING PLEA OF GUILTY

        LIDIA ANTONIO, by consent, under authority of United States v. Dees, 125 F.3d 261 (5 1h Cir. 1997), has
appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to the Count 1 of the 7 Count
Superseding Indictment, filed on June 15,2016. After cautioning and examining Defendant Lidia Antonio under
oath concerning each ofthe subjects mentioned in Rule 11, I determined that the guilty plea was knowledgeable and
voluntary and that the offense charged is supported by an independent basis in fact containing each of the essential
elements of such offense. I therefore recommend that the plea of guilty be accepted, and that Defendant Lidia
Antonio, be adjudged guilty of Conspiracy to Commit Health Care Fraud, in violation of 18 USC§ 1349, and have
sentence imposed accordingly. After being found guilty of the offense by the district judge,


D       The defendant is currently in custody and should be ordered to remain in custody.

~       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(l) unless the Court finds by clear
        and convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the
        community if released.

                The Government does not oppose release.
                The defendant has been compliant with the current conditions of release.
                I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
                other person or the community if released and should therefore be released under § 3142(b) or (c).

        D       The Government opposes release.
        D       The defendant has not been compliant with the conditions of release.
        D       Ifthe Court accepts this recommendation, this matter should be set for hearing upon motion of the
                Government.

D       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (1 )(a) the Court finds there
        is a substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
        recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly
        shown under § 3145( c) why the defendant should not be detained, and (2) the Court finds by clear and
        convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the
        community if released.

        Signed August 10, 2017.

                                                          IRMA C. RAMIREZ
                                                          UNITED STATES MAGISTRATE JUDG-_.-

                                                      NOTICE

          Failure to file written objections to this Report and Recommendation within fourteen ( 14) days from the date
of its service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United
States District Judge. 28 U.S.C. §636(b )( 1)(B).
